

Barsoum v Stellar Mgt. Inc. (2023 NY Slip Op 02076)





Barsoum v Stellar Mgt. Inc.


2023 NY Slip Op 02076


Decided on April 25, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 25, 2023

Before: Kapnick, J.P., Kern, Friedman, Gesmer, Pitt-Burke, JJ. 


Index No. 157758/16 Appeal No. 87 Case No. 2022-03180 

[*1]Laila Barsoum, Plaintiff-Appellant,
vStellar Management Inc., Also Known as Stellar Management et al., Defendants-Respondents.


Edwin I. Gorski, New York, for appellant.
Cullen &amp; Associates P.C., New York (Wayne L. Desimone of counsel), for respondents.



Appeal from order, Supreme Court, New York County (Gerald Lebovits, J.), entered July 1, 2022, which granted defendants' motion for summary judgment dismissing the second amended complaint, unanimously dismissed, without costs.
Plaintiff has appealed the decision of the motion court, which granted defendants' motion for summary judgment dismissing the second amended complaint. The short form order stated that the motion was being granted based upon the record at oral argument. However, appellant has not annexed the transcript of the oral argument as part of the record on appeal. Without being able to review the transcript, this Court cannot consider the appeal. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 25, 2023








